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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

TIMOTHY HARRINGTON,                         Case No. 17-10664

             Plaintiff,                     ARTHUR J. TARNOW
v.                                          SENIOR U.S. DISTRICT JUDGE

CAPITAL ONE BANK (USA) N.A.,

             Defendant.
                                       /

                             ORDER OF DISMISSAL

      On June 6, 2017, the Court received a Notice of Settlement (D.E. # 12)

indicating that a stipulated order of dismissal would be submitted within 30 days.

Since that filing, there has been no activity on the Court’s docket.

      IT IS HEREBY ORDERED that this action is DISMISSED without costs and

without prejudice to the right of the parties, within 30 days and upon good cause

shown, to move to vacate this order.

      SO ORDERED.


                                        s/Arthur J. Tarnow
                                        ARTHUR J. TARNOW
                                        Senior United States District Judge
Dated: December 8, 2017
